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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

      DISTRICT OF COLUMBIA,
      STATE OF NEW YORK, STATE
      OF CALIFORNIA, STATE OF
      COLORADO, STATE OF
      CONNECTICUT, STATE OF
      HAWAII, STATE OF ILLINOIS,
      STATE OF MAINE, STATE OF
      MARYLAND,
      COMMONWEALTH OF
      MASSACHUSETTS, ATTORNEY
      GENERAL DANA NESSEL ON                          Civ. Action No. 1:20-cv-00119-BAH
      BEHALF OF THE PEOPLE OF
      MICHIGAN, STATE OF
      MINNESOTA, STATE OF
      NEVADA, STATE OF NEW
      JERSEY, STATE OF NEW
      MEXICO, STATE OF OREGON,
      COMMONWEALTH OF
      PENNSYLVANIA, STATE OF
      RHODE ISLAND, STATE OF
      VERMONT, COMMONWEALTH
      OF VIRGINIA, and CITY OF
      NEW YORK,

                         Plaintiffs,

              v.

      U.S. DEPARTMENT OF
      AGRICULTURE; GEORGE
      ERVIN PERDUE III, in his official
      capacity as Secretary of the U.S.
      Department of Agriculture, and
      UNITED STATES OF AMERICA,

              Defendants.

                   DECLARATION OF EDWARD BOLEN IN SUPPORT OF
                    PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT

Pursuant to 28 U.S.C. § 1746, I, Edward Bolen, declare and state as follows:

       1.     I am over the age of eighteen (18) years, competent to testify to the matters
contained herein, and testify based on my personal knowledge and information.



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         2.    I am a Senior Policy Analyst with the Center on Budget and Policy Priorities
(CBPP). In this position, I focus on state and federal issues in the Supplemental Nutrition
Assistance Program (SNAP), including SNAP Employment & Training (E&T) and waivers for
able-bodied adults without dependents (ABAWDs). I have provided trainings to multiple states
regarding their loss of waivers and have worked with advocates and state officials concerning
issues in implementing ABAWD time limits. CBPP is a nonpartisan research and policy
institute. We work to protect and strengthen programs that reduce poverty and inequality and
increase opportunity for people trying to gain a foothold on the economic ladder. Federal
nutrition programs, including SNAP, are a core component of our organization’s work. We have
deep expertise on SNAP time limit policy, including waivers and individual exemptions. I base
the analysis and estimates in this declaration on my work and the work of my colleagues at the
Center.

        3.      I am aware that the federal government recently issued a final rule, “Supplemental
Nutrition Assistance Program: Requirements for Able-Bodied Adults Without Dependents,” 84
Fed. Reg. 66,782 (“the rule”). I have reviewed the rule and am aware of its direct implications
for the administration of SNAP, formerly known as the Food Stamp Program, within the states. I
understand that this lawsuit challenges the rule. I previously submitted a declaration in support of
the State Plaintiffs’ motion for preliminary injunction.

        4.      Current economic circumstances show how the final Rule would fail to respond to
deteriorating labor market conditions. In contrast, the long-standing rules currently in place give
states important options to help low-income unemployed workers who have been adversely
affected by the events of the last few months.

        5.      The country is in the midst of both an unprecedented public health emergency
caused by the coronavirus pandemic and an economic crash that has resulted in record
unemployment. As a result, food insecurity – the limited or uncertain availability of a
nutritionally adequate diet arising from a lack of resources – rose at unprecedented rates during
the pandemic and remains at historic highs as the economic crisis continues. Beginning with
survey responses from late March, nearly a third of non-elderly adults reported that their families
spent less on food in the last month. 1 That number rises to 46.5 percent among adults in families
that experienced job or income loss. Nearly 23 percent of households said the food they bought
“just didn’t last” and they didn’t have the money to buy more, according to another national
survey. 2 In contrast, at the worst point of the 2008 recession, 16 percent of households had the
same response. The levels of food insecurity appear to have levelled off but remain historically
high.

       6.    SNAP has historically responded to worsening economic conditions by quickly
providing modest food assistance to households that have seen a drop in income. Some states


1
  Elaine Waxman, “More than One in Five US Adults Experienced Food Insecurity in the Early Weeks of the
Pandemic,” April 28, 2020, Urban Institute, https://www.urban.org/urban-wire/more-one-five-us-adults-
experienced-food-insecurity-early-weeks-pandemic.
2
  Laruen Baur,
https://www.hamiltonproject.org/blog/the_covid_19_crisis_has_already_left_too_many_children_hungry_in_americ
a.


                                                     2
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are reporting significant increases in applications for assistance, indicating that SNAP may be
responding quickly now as well.

        7.      The time-limit, however, reduces SNAP’s ability to respond to economic
downturns, because ABAWDs are at risk of losing benefits when jobs are hard to find and often
work in industries that are especially hard hit during recessions, such as food service, home
health aides, office support and retail sales. Workers in these jobs are at greatest risk of losing
employment due to the pandemic.3 The Families First Act, passed in response to the coronavirus
pandemic, temporarily suspends the time limit until the month after the public health emergency
ends.

        8.      The ability of states to waive the time limit in areas with a lack of sufficient jobs
is an important response when childless adults suddenly lose their earnings and are unable to find
work. But areas must meet prescribed unemployment-based criteria to document the lack of
jobs, and the final rule, had it been in effect as of April 1, would have prevented almost every
area throughout the country from qualifying. As a result, despite record unemployment, the final
rule would offer almost no relief to unemployed workers and overwhelmed state benefit systems
and local food banks.

      9.    The coronavirus pandemic and state stay-at-home orders have resulted in record
unemployment:
        x   The number of unemployed persons rose from an average of under 6.4 million
            in January and February to 21.0 million in May. The Bureau of Labor
            Statistics (BLS) notes, however, that as many as 4.9 million workers who
            were absent from work may have been misclassified as employed rather than
            unemployed. 4

        x   The unemployment rate in May (not accounting for misclassification) was
            13.3 percent.

        x   People already facing barriers to opportunity, including Black and Latino
            workers, those working in industries with low wages, and those without a
            bachelor’s degree, were hit hardest by the massive recent job losses. 5 The
            white unemployment rate in May was 12.4 percent, the Black rate was 16.8
            percent, and the Hispanic rate was 17.6 percent.6



3
  Berube, Alan and Nicole Bateman, “Who are the workers already impacted by the covid-19 recession?”, Brookings
Institute, April 3, 2020, https://www.brookings.edu/research/who-are-the-workers-already-impacted-by-the-covid-
19-recession/.
4
  U.S. Department of Labor, Bureau of Labor Statistics, “The Employment Situation, May 2020,” June 5, 2020,
https://www.bls.gov/news.release/pdf/empsit.pdf
5
  Chad Stone, “People Already Facing Opportunity Barriers Hit Hardest By Massive April Job Losses,” CBPP, May
12, 2020, https://www.cbpp.org/blog/people-already-facing-opportunity-barriers-hit-hardest-by-massive-april-job-
losses
6
  U.S. Department of Labor, Bureau of Labor Statistics, “The Employment Situation, May 2020,” June 5, 2020,
https://www.bls.gov/news.release/pdf/empsit.pdf


                                                       3
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         x   The number of people claiming unemployment benefits rose to 30 million in
             the week ending May 16, from an average of 2 million in a typical week
             between the beginning of the year and mid-March.

        10.     The Administration’s final rule, if it were in effect now, would have failed to
allow states to respond to the pandemic and record unemployment. Under the final rule, an area,
limited by the rule to be a Labor Market Area (LMA), cannot receive a waiver unless:
         x   its average unemployment rate over a recent two-year period is at least 6
             percent and at least 20 percent higher than the national average; or

         x   its average unemployment rate over a recent one-year period is over 10
             percent. 7

         11.    The final rule eliminates the two criteria that would most quickly respond to
worsening economic conditions affecting low-income unemployed workers. The long-standing
criteria allowing states to identify 3-month unemployment rate of 10 percent as evidence of 10
percent unemployment was eliminated in the proposed and final rule. The final rule also
eliminated the ability for a state to qualify for a waiver when the state qualifies for Extended
Unemployment Benefits (EB). The primary means of qualifying for a waiver under the final rule
require at least 12 or 24 months of high unemployment.

        12.      By requiring such long periods of high unemployment, the final rule was flawed
even prior to the pandemic because it lacked a quick response to economic downturns. Under
the final rule, far fewer areas would qualify for waivers during any future national recession,
when the national average unemployment rate is high — and, the worse the recession, the higher
the hurdle to receive a waiver. If national unemployment for the two-year period averaged an
already high 7 percent, for example, an area would need an even higher 8.4 unemployment rate
to qualify.

        13.     But more troubling, the final rule largely fails to allow states to respond to the
extraordinary circumstances our nation has faced since the final rule was issued in December
2019. As of April 1, when the final rule was scheduled to go into effect, even with the
extraordinary increases in unemployment, the share of U.S. counties that are eligible for a waiver
would have dropped from about 36 percent to about 9 percent. As of June, during the midst of
the pandemic and after record numbers of people filing for unemployment, only 10 percent of
counties are eligible for a waiver based on the most recently available data that could be used
under the final rule criteria for submitting a waiver. 8 As a result of the restrictions in the final
rule, only a negligible number of new areas have become eligible, despite the most staggering
loss of employment since at least the Great Depression. Under current rules, 97 percent of U.S.
counties could be waived, as a result of most of the U.S. states qualifying of extended
unemployment benefits.
7
  The final rule does allow waivers for undefined “exceptional circumstances” but the limits of this provision are
discussed later.
8
  Based on CBPP internal analysis of unemployment data from the U.S. Bureau of Labor Statistics and the U.S.
Census Bureau.


                                                          4
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        14.     In contrast, the current, long-standing waiver rules allow states to quickly respond
to worsening economic conditions. Under the long-standing waiver criteria currently in effect,
states have begun to qualify for waivers of the three-month time limit, allowing hard-hit states to
adapt quickly to worsening economic conditions. For example, under current rules, a state that
qualifies for federal Extended Unemployment Benefits as determined by the U.S Bureau of
Labor Statistics can qualify for a statewide waiver. In the final rule, USDA notes that no state
qualified for EB at the time due to the strength of the economy. As of June 18, 48 states and the
District of Columbia have qualified for Extended Unemployment benefits (and the remaining
states – South Dakota and Utah – may qualify in the coming weeks).9 Almost the entire country
is suffering from widespread unemployment and qualifies for a waiver of the time limit under
current rules.

        15.      In addition, the flexibility given states to define the areas to waive – eliminated in
the final rule – has allowed states to request waivers for all affected areas within the state,
including the state as a whole. Given the geographic impact of the spread of the coronavirus and
the economic downturn, this broad flexibility is proving critical to states as they work to respond
to the hardships of their residents. The final rule does not allow states to request waivers for the
entire state, unless each LMA qualifies under the rule’s more stringent criteria.

       16.      Because the long-standing rules are still in place, approximately 97 percent of the
counties in the United States could waive the three-month limit on SNAP benefits for
unemployment adults during this time of economic hardship and widespread unemployment if
the temporary suspension of the time limit were not in effect.

        17.      Eliminating extended unemployment benefits as a qualifying criterion for a
waiver will be harmful in any recession. The final rule illustrates that USDA does not understand
the impact of eliminating the EB trigger during any future recession. EB was eliminated in the
final rule, but not in the proposed rule, giving commenters no opportunity to discuss the drastic
impact this change would have when the economy worsens. In describing the elimination of the
EB trigger in the Regulatory Impact Analysis (RIA) of the final rule, USDA admits that because
the EB trigger is eliminated, some areas may not qualify for waivers as quickly during an
economic downturn as they otherwise would have under the long-standing criteria. 10 But USDA
doesn’t seem to understand that many areas with high unemployment would not qualify at all
during and after recessions when national unemployment is high, because an area’s
unemployment rate must be both over 6 percent AND 20 percent above the national average. So
an area with 9 percent unemployment would not qualify if the national average unemployment
rate was 8 percent. This will result in far fewer areas qualifying for waivers during and after
recessions.

         18.   The RIA fails to provide useful information to assess the impact of the final rule
because it was based on the assumption that the economic circumstances and employment rates
at the time would continue unabated. It states “[c]urrently no States qualify for EB so no State

9
 https://oui.doleta.gov/unemploy/trigger/2020/trig_062120.html
10
  Regulatory Impact Analysis, 7 CFR Part 273, Supplemental Nutrition Assistance Program: Requirements for
Able-Bodied Adults Without Dependents, at 29 and 55, https://www.regulations.gov/document?D=FNS-2018-0004-
19016.


                                                    5
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may apply for waivers under the EB criterion. Therefore this provision is not expected to have
measurable impacts on SNAP participants, State agencies, or Federal spending during FYs 2020-
2024.” 11 Because as of June 2020, 48 states now qualify for EB, that analysis is fatally flawed.
Notwithstanding the current economic situation, recessions historically have occurred at least
once a decade so it is unreasonable to assume there would never be another one.

        19.     Research continues to show the shortcomings of the final rule. Using recent data
for six LMAs, the Urban Institute found that using LMA unemployment rates could “mask
significant variation in the availability of jobs across counties and cities within the same LMA
without considering the barriers to transportation faced by low-wage workers.” The study also
found that the final rule would also adversely affect waiver eligibility for urban areas with high
shares of Black and Hispanic residents, areas with significant immigrant populations, and rural
areas across the U.S. 12

         20.     The flaws with the final rule are not resolved simply because the rule includes an
option to submit waivers under “exceptional circumstances.” First, USDA would need to decide
what constitutes an exceptional circumstance, and states may well be concerned that USDA
would not exercise this authority broadly, given the historical experience of the agency (touted
repeatedly in preamble of the final rule as the reason to discount comments that suggested
changes to, or problems with, the final rule). The current rules have a similar provision that has
rarely if ever been approved by FNS. Second, the RIA claimed the “exceptional circumstances”
criteria would be rarely used and not impact the number of individuals or cost savings of the
final rule, noting “by design these criteria are expected to be used infrequently. Therefore, the
Department believes that this provision will have minimal impact on SNAP participants, State
agencies, or Federal spending.”13

        21.     The final rule significantly diminishes SNAP’s value as an important response to
economic downturns. In local economies with high unemployment, SNAP payments support
recipients to maintain their spending and, as a result help sustain overall economic activity in the
area. And in a national recession, SNAP provides high “bang-for-the-buck” stimulus —
generating $1.50 or more in spending for each dollar of benefits — that slows job losses when
business and consumer confidence is low and economic activity is weak. The expansion in
SNAP caseloads due to lower incomes provides this stimulus automatically when the economy
weakens. Under the current long-standing rules, waivers allow low-income unemployed workers
to receive SNAP, providing added stimulus while simultaneously addressing the greater hardship
from a recession. By drastically restricting the number of areas with high unemployment that
can qualify, the waiver criteria in the final rule would not help these workers and would thereby
suppress economic activity. USDA failed to address the impact this would have on increasing
hardship and prolonging the recession.


11
   Id. at 29.
12
   Kwon, Danielle, Nathan Joo and Elaine Waxman, “Using Labor Market Areas to Determine ABAWD Waiver
Eligibility Limits SNAP’s Local Flexibility,” Urban Institute, April 2020,
https://www.urban.org/sites/default/files/publication/101940/using-labor-market-areas-to-determine-abawd-
eligibility-limits-snaps-local-flexibility_3.pdf.
13
   Regulatory Impact Analysis 7 CFR Part 273, Supplemental Nutrition Assistance Program: Requirements for Able-
Bodied Adults Without Dependents, at 32.


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         22.    The USDA’s stated goal for issuing the final rule is no longer valid. In the
preamble to the final rule, USDA repeatedly notes it intends to limit waiver eligibility, claiming
that at a time of low national unemployment, too many ABAWDs are living in areas that are
covered by waivers. While that rationale is faulty on its own merits, it is now no longer even
true. We are not in a time of low national unemployment. Nor are economic forecasts
predicting a quick return to a strong economy. The final rule fails to account for circumstances
like those we now are facing. As a result, the final rule does not permit states to respond to
spiking food insecurity by requesting a waiver of the time limit.
    I declare under penalty of perjury that the forgoing is true and correct and of my own
personal knowledge.

   Executed on June 23, 2020 in Washington, DC.




                                                     ____________________________________
                                                     Edward Bolen
                                                     Senior Policy Analyst
                                                     Center on Budget and Policy Priorities




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